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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

CARLOS E. MORAL, et al.                           )
                                                  )
                              Plaintiff,          )
v.                                                )    Case No. 6:21-CV-01070-HLT-TJJ
                                                  )
PHH MORTGAGE CORPORATION,                         )
et al.,                                           )
                  Defendants.                     )

                MEMORANDUM IN SUPPORT OF DEFENDANT
     JPMORGAN CHASE &CO.’s MOTION TO DISMISS OR, IN THE ALTERNATIVE,
                MOTION FOR A MORE DEFINITE STATEMENT

         Defendant JPMorgan Chase & Co. (“Chase & Co.”), pursuant to Fed. R. Civ. P. 12(b)(6)

and 12(e), moves to dismiss Carlos and Julie Moral’s (the “Plaintiffs”) Complaint as to Chase &

Co. for failure to state a claim upon which relief can be granted or, in the alternative, for a more

definite statement.

                 STATEMENT OF FACTS AS ALLEGED BY PLAINTIFF1

         Plaintiffs’ Complaint alleges generally, violations of the Real Estate Settlement

Procedures Act (“RESPA”) and slander of title based on allegations of forged lien releases. See

Complaint, generally. Plaintiffs do not allege a RESPA claim against Chase & Co. Rather,

Plaintiffs allege “each of the above-captioned defendants have acted in some capacity as either

servicers or holders of the note” to slander Plaintiffs’ title and “shoulder varied amounts of

responsibility for the circumstances that have acted to impair the value of the [Plaintiffs’]

property.” See Complaint ¶55. However, Defendant Chase & Co. is only referenced once in the

body of the Complaint. Plaintiffs’ sole factual allegation against Chase & Co. is:



1
       Chase & Co. must assume Plaintiffs’ fact allegations are true solely for the purposes of
this motion, even if doubtful. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).



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         16.     Bank One subsequently merged with JPMorgan Chase & Co. in July of
         2004, and later events indicate that the the [sic]note securing the mortgage was
         placed in the possession of the banking entity born from that merger, JPMorgan
         Chase Bank N.A.

See Complaint, ¶ 16. Chase & Co. is not mentioned again. Chase & Co. is not the same entity as

JPMorgan Chase Bank, N.A., (“Chase Bank”) as Plaintiffs’ readily acknowledge. Id. Plaintiffs

do not allege Chase & Co. serviced or held the Plaintiffs’ note. In fact, the Plaintiffs allege that if

the note was ever held by a Chase-related entity, it was held by Chase Bank and not by Chase &

Co. Id. Thus, the only allegation in the Complaint against Chase & Co. is that Chase & Co. may

have owned an entity that may have held the Plaintiffs’ note sometime between 2004 and 2009.

See Complaint, ¶¶ 16-17. Plaintiffs did not name Chase Bank as a defendant and to do so would

be futile. The Complaint makes no allegations against either Chase & Co. or Chase Bank related

to Plaintiffs’ 2020-2021 payments or alleged 2021 lien releases. In fact, Plaintiffs allege Chase

Bank was out of the chain of title by 2008. See Complaint, ¶ 17.

         Based on these facts, Plaintiffs conclude that Chase & Co. has slandered Plaintiffs’ title.

Plaintiffs have failed to allege any such claim against Chase & Co.

                                       LEGAL STANDARD

         To survive a Rule 12(b)(6) motion to dismiss, “a complaint must contain sufficient

factual matter, accepted as true, to state a claim for relief that is plausible on its face.” Ashcroft

v. Iqbal, 556 U.S. 662, 663 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)). This requires a Plaintiff to plead more than “labels and conclusions, and a formulaic

recitation of a cause of action . . . .” Id. at 555. A pleading that merely states “labels and

conclusions,” a “formulaic recitation” of the elements of a cause of action, or “naked assertions”

devoid of “further factual enhancement” will not suffice. Iqbal, 556 U.S. at 678 (quoting

Twombly, 550 U.S. at 555).



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         Instead, a pleading must contain “factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Id. This means the

pleading must contain “enough facts to state a claim to relief that is plausible on its face.” Id. at

570. When determining whether a claim is “plausible on its face,” courts accept all well-pleaded

factual allegations contained in the complaint as true, but exclude legal conclusions from the

analysis. Toone v. Wells Fargo Bank, N.A., 716 F.3d 516, 520-21 (10th Cir. 3013); Twombly,

550 U.S. at 555, 564-65, 589-90. If the court can infer from those factual allegations no more

than a “mere possibility of misconduct,” the complaint must be dismissed. Iqbal, 556 U.S. at

679.

         Under Federal Rule 12(e), a party may request a more definite statement when a pleading

is “so vague or ambiguous that the party cannot reasonably prepare a response.” Fed. R. Civ. P.

12(e). A motion for more definite statement requires the Court to consider whether the facts as

pled are sufficient under Fed. R. Civ. P. 8. Swimwear Solution, Inc. v. Orlando Bathing Suit,

LLC, 309 F. Supp.3d 1022, 1044 (D. Kan. 2018).

                                          ARGUMENT

         Plaintiffs’ Complaint fails to state a claim because they do not provide sufficient facts

under the pleading standards set forth in the Federal Rules of Civil Procedure and fail to show a

right to relief against Chase & Co. Instead, Plaintiffs conflate the various defendants in this

matter. In the Complaint, Plaintiffs allege that all Defendants shoulder responsibility as either

servicers or holders of their note. See Complaint ¶ 55. However, nowhere in the Complaint do

Plaintiffs allege that Chase & Co. was either a servicer or a holder of their note. At best,

Plaintiffs allege Chase & Co. owned an entity, Chase Bank that may have had possession of the




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note by virtue of a merger. See Complaint ¶ 16. Consequently, Plaintiffs’ Complaint fails to state

sufficient facts to state a claim under Fed. R. Civ. P. 8 against Chase & Co.

         In the alternative, if the Court denies the motion to dismiss, Chase & Co. requests that

this Court require Plaintiffs to provide a more definite statement.

  I.     Plaintiffs Fail To Plead Sufficient Facts Under Fed. R. Civ. P. 8 Because They
         Conflate Actions Of All Defendants.

         As a threshold matter, Plaintiffs’ Complaint must be dismissed because they fail to fulfill

the pleading standards set forth in Fed. R. Civ. P. 8. Plaintiffs’ Complaint does not contain

sufficient facts to survive a motion to dismiss as to Chase & Co. because Plaintiffs improperly

refer to all defendants in the collective and fail to allege which defendant is alleged to have

committed each act. Chase & Co. is not alleged to have committed any act beyond a merger with

Bank One.

         Plaintiffs’ Complaint is insufficient under Rule 8 because they attribute all allegations to

all Defendants. In a case where there are multiple defendants, Rule 8 requires that the complaint

give each individual defendant sufficient notice of the claims against it. Under the federal rules,

a party must provide “a short plain statement of the claim showing the pleader is entitled to

relief.” Fed. R. Civ. P. 8(a)(2). In order to show they are entitled to relief, the pleader must

state “exactly who is alleged to have done what to whom, to provide each individual with fair

notice as to the basis of the claims against him or her. . .” Robbins v. Oklahoma, 519 F.3d 1242,

1250 (10th Cir. 2008). A pleader, therefore, must establish their right of relief against each

defendant to state a claim against them. See Matthews v. Bergdorf, 889 F.3d 1136, 1144 (10th

Cir. 2018).

         Here, Plaintiffs’ fail to state sufficient facts for all counts under Fed. R. Civ. P. 8 because

they refer to all Defendants in the collective and do not delineate which claims and factual



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allegations concern each party. Plaintiffs then reference all defendants rather than any individual

party in Count II for Slander of Title. Plaintiffs, however, improperly place the burden on

Defendants to determine which allegations are asserted against whom and what claims each

defendant must defend against. In doing so, Plaintiffs fail to show a right to relief against any

one defendant and instead, relies on improper “shotgun pleading” making it impossible to tell

what facts connect with which claims and to which Defendants. See Greenway Nutrients, Inc. v.

Blackburn, 33 F. Supp.3d 1224, 1242-43 (D. Colo. 2014). Plaintiffs, therefore, failed to plead

the allegations supporting each count in the Complaint sufficiently against each defendant and

the Complaint must be dismissed.

 II.     In The Alternative, The Court Should Order Plaintiffs To Provide A More Definite
         Statement So Defendants Know Which Allegations Pertain to Which Parties.

         In the event that the Court finds that Plaintiffs state a claim and Chase & Co.’s Motion to

Dismiss is denied, Chase & Co. requests that the Court order Plaintiffs to provide a more definite

statement so Chase & Co. can adequately respond to the Complaint. A motion for more definite

statement requires the Court to consider whether the facts as pled are sufficient. Swimwear

Solution, Inc. v. Orlando Bathing Suit, LLC, 309 F. Supp.3d 1022, 1044 (D. Kan. 2018).

         Here, as described above, Plaintiffs do not adequately plead under Fed. R. Civ. P. 8

because they improperly conflate defendants and fail to allege which defendants committed

which acts. Plaintiffs should be ordered to specifically allege which acts are alleged against

Chase & Co. The current Complaint makes no claims against either Chase & Co. or Chase Bank

after 2004. See Complaint, ¶¶ 16-17. Allegations about Chase & Co. and Chase Bank are over 10

years old and beyond the one-year statute of limitations for a slander of title claim. In the event

this Court denies Chase & Co.’s Motion to Dismiss, Chase & Co. requests the Court to order

Plaintiffs to provide a more definite statement.



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                                         CONCLUSION

         Plaintiffs fail to state a short and plain statement of their claims. In their attempt to

implicate as many Defendants as possible, Plaintiffs fail to adequately plead facts sufficient to

state a claim against Chase & Co. Plaintiffs’ Complaint should be dismissed as to Chase & Co.,

or Plaintiffs should be ordered to specify the claims and allegations they are making against

Chase & Co.

                                              Respectfully submitted,

                                              BRYAN CAVE LEIGHTON PAISNER LLP

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                                              ATTORNEYS FOR DEFENDANT
                                              JPMORGAN CHASE & CO.


                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that April 30, 2021, the foregoing was served via the
Court’s ECF system to all counsel of record:


                                                       /s/ Michelle M. Masoner
                                                       Attorney for Defendant




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